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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION
                         CIVIL ACTION NO. 1:21-CV-00050-GNS-HBB

 ESTATE OF JEREMY MARR,                                                               PLAINTIFFS
 by and through its Administrator,
 JOANNA MARR et al.

 v.

 CITY OF GLASGOW et al.                                                             DEFENDANTS

                          MEMORANDUM OPINION AND ORDER

        This matter is before the Court on Plaintiffs’ Motion to Alter, Amend, or Vacate (DN 90).

 The motion is ripe for adjudication.

                                        I.   BACKGROUND

        Plaintiffs Joanna Marr, as Administrator of the Estate of Jeremy Marr, individually, and on

 behalf of Marr’s minor child (collectively, “Plaintiffs”), filed this wrongful death action alleging

 Glasgow Police Department (“GPD”) officers Guy Joseph Turcotte (“Turcotte”), Hayden Phillips

 (“Phillips”), and Cameron Murrell (“Murrell”) (jointly, the “Officers”) used excessive force

 against Jeremy Marr (“Marr”). (Compl. ¶¶ 3-9, 12-24, 38-71, DN 1).1 Plaintiffs asserted federal

 and state law claims against the GPD; the City of Glasgow (“City”); and the Officers in their

 official and individual capacities. (Compl. ¶¶ 3-9, 12-24, 38-71).

        The Officers first encountered Marr after they responded to a 911 call reporting a break-in

 at the home of Evie Tharp (“Tharp”). (Compl. ¶¶ 12-24; Turcotte Dep. 17:18-22:25, 104:3-105:13,

 Jan. 9, 2023, DN 49; Tharp Dep. 5:8-7:19, 12:1-22, July 10, 2023, DN 53). The Officers noted

 that Marr was in a state of mental distress and appeared to be under the influence of some kind of



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  Detailed facts of this case are set out in the Court’s prior Memorandum Opinion. (Mem. Op. &
 Order 1-3, DN 88). The Court will now provide only a brief overview.

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 illegal substance. (Turcotte Dep. 101:19-110:20; Turcotte Bodycam 1, at 5:00-5:10; Turcotte

 Bodycam 2, at 0:00-0:20, DN 46). The Officers attempted to handcuff Marr but only managed to

 cuff one hand before a struggle ensued for several minutes as Marr resisted. (Turcotte Bodycam

 1, at 5:00-9:20; Turcotte Dep. 109:16-112:7). The Officers tased Marr eight to ten times during

 the struggle and, after he was restrained, Marr became unresponsive and later died. (Turcotte Dep.

 170:5-172:25; Turcotte Bodycam 1, at 6:07-10:00; Turcotte Bodycam 2, at 1:10-3:40, DN 46).

        The Court granted Defendants’ motion for summary judgment. (Mem. Op. & Order 20-

 22). Plaintiffs now seek reconsideration of the Court’s Memorandum Opinion and Order granting

 summary judgment in favor of Defendants. (Pls.’ Mot. Alter, Amend, or Vacate, DN 90).

                                        II.   JURISDICTION

        Jurisdiction for the federal law claims is based on federal question jurisdiction pursuant to

 28 U.S.C. § 1331. This Court has jurisdiction over the state law claims through supplemental

 jurisdiction under 28 U.S.C. § 1367(a).

                                 III.     STANDARD OF REVIEW

        Fed. R. Civ. P. 59(e) provides that a party may file a motion to alter or amend a judgment

 no later than 28 days after the entry of the judgment. See Fed. R. Civ. P. 59(e). Rule 59(e) motions

 allow district courts to correct their own errors, “sparing the parties and appellate courts the burden

 of unnecessary appellate proceedings.” Howard v. United States, 533 F.3d 472, 475 (6th Cir.

 2008) (internal quotation marks) (citation omitted). The decision of whether to grant relief under

 Fed. R. Civ. P. 59(e) is left to the district court’s sound discretion. See In re Ford Motor Co. Sec.

 Litig., Class Action, 381 F.3d 563, 573 (6th Cir. 2004). Such a motion will generally be granted

 only if the district court made a clear error of law, if there is newly discovered evidence, if there

 is an intervening change in the controlling law, or if granting the motion will prevent manifest



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 injustice. See GenCorp, Inc. v. Am. Int’l Underwriters, 178 F.3d 804, 834 (6th Cir. 1999) (citations

 omitted). A Fed. R. Civ. P. 59(e) motion is not properly used as a vehicle to re-hash old arguments

 or to advance positions that could have been argued earlier but were not. See Sault Ste. Marie

 Tribe of Chippewa Indian Tribes v. Engler, 146 F.3d 367, 374 (6th Cir. 1998).

                                       IV.     DISCUSSION

        A.      Constitutional Right Violation

        Plaintiffs’ arguments ultimately all fall under the “clear error of law” categorization of Fed.

 R. Civ. P. 59. See GenCorp, Inc, 178 F.3d at 834. Plaintiffs first contest that the Court erred in

 its qualified immunity analysis in both the constitutional right violation and clearly established

 right prongs. (Pls.’ Mot. Alter, Amend, or Vacate 3-10). Specifically, Plaintiffs contend that the

 Court’s analysis of the 911 call is “manifestly unjust as it omits germane information” when it

 made the qualified immunity determination. (Pls.’ Mot. Alter, Amend, or Vacate 3). Plaintiffs

 argue that the Court incorrectly analyzed the constitutional violation prong of the qualified

 immunity by characterizing the break-in as a serious crime, such that the Officers would have

 believed they were encountering a serious threat. (Pls.’ Mot. Alter, Amend, or Vacate 3-4). They

 chiefly argue that the Officers would not have known Tharp’s age and that Marr did not commit

 an intentional crime. (Pls.’ Mot. Alter, Amend, or Vacate 4). Defendants contend that Plaintiffs

 waived this issue by not raising it at the summary judgement stage. (Defs.’ Resp. Pls.’ Mot. Alter,

 Amend, or Vacate 3, DN 91). They further note that the Court extensively and correctly analyzed

 both the nature of the 911 call and the Officers’ response and assessment of the situation. (Defs.’

 Resp. Pls.’ Mot. Alter, Amend, or Vacate 3-4).

        The threshold question is whether Plaintiffs had to raise this issue on summary judgment.

 Defendants contend that Plaintiffs should have raised the issue of Tharp’s age at the summary



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 judgment stage but fail to provide supporting authority. (Defs.’ Resp. Pls.’ Mot. Alter, Amend, or

 Vacate 3). Plaintiffs cite National Ecological Foundation v. Alexander, 496 F.3d 466 (6th Cir.

 2007), to support the proposition that they are able to raise this argument in this motion rather than

 at summary judgment. (Pl.’s Reply Mot. Alter, Amend, or Vacate 2-3 (citation omitted)). In

 National Ecological Foundation, the Sixth Circuit permitted a party’s argument to proceed under

 Fed. R. Civ. P. 59 because the trial court did not permit reply briefs, and the Sixth Circuit noted

 the “unique facts” of the case that permitted the moving party to first raise the argument at a later

 stage. Id. at 477.

        Plaintiffs’ argument ultimately fails because it oversimplifies the facts relied upon in the

 Court’s analysis. (Pls.’ Mot. Alter, Amend, or Vacate 3-4). If bodycam footage shows facts so

 clearly that a reasonable jury would be able to view these facts in only one way, a court should

 view the facts in the light depicted by the video. See Scott v. Harris, 550 U.S. 372, 380 (2007).

 This Court indicated in a footnote that Tharp was 89 years old but did not rely on her age to justify

 her fear during the circumstances as Plaintiff asserts. (Mem. Op. & Order 8 n.4, 8-9). Instead, the

 Court acknowledged a home break-in during the early morning hours as giving rise to the victim’s

 fear: “Tharp understandably feared Marr, a complete stranger, who smashed a window to enter at

 7:30 AM, repeatedly yelling that he did not want to be killed.” (Mem. Op. & Order 9). The

 Officers were not concerned about the age of the victim but the nature of the break-in and Marr’s

 erratic conduct after they arrived on scene. (Turcotte Dep. 101:19-102:14, Turcotte Bodycam 1,

 at 3:30-3:36, 5:00-5:10). The bodycam footage in this case shows that a jury could only reasonably

 interpret the footage to reflect Marr was clearly resisting the officers’ efforts and commands during

 the arrest. (Turcotte Bodycam 1, at 5:00-9:30).




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        Plaintiffs also fail to acknowledge the bodycam footage and depositions provided in the

 record or that the severity of the crime was only one of the factors that the Court considered among

 a series of factors assessed. See Shumate v. City of Adrian, 44 F.4th 427, 441-42 (6th Cir. 2022).

 It is insufficient to argue that the Officers should have known that Marr was “actively seeking

 help, not committing an intentional crime.” (Pls.’ Mot. Alter, Amend, or Vacate 4). The test is

 reasonableness at the time the force was used, “judged from the perspective of a reasonable officer

 on the scene, rather than with the 20/20 vision of hindsight.” Graham v. Connor, 490 U.S. 386,

 396 (1989) (citing Terry v. Ohio, 392 U.S. 1, 20-22 (1968)). As the Sixth Circuit has recognized,

 “police officers are often forced to make split second judgments—in circumstances that are tense,

 uncertain, and rapidly evolving—about the amount of force that is necessary in a particular

 situation.” Dorsey v. Barber, 517 F.3d 389, 399 (6th Cir. 2008) (internal quotation marks omitted)

 (citation omitted).

        Given its prior articulation of the correct standard and a discussion of the facts in its

 Memorandum Opinion and Order, the Court rejects Plaintiffs’ motion as to the constitutional right

 violation prong.

        B.      Clearly Established Right

        Plaintiff next argues that the Officers failed to follow proper policy and that the Court failed

 to correctly analyze the clearly established analysis of qualified immunity under Hagans v.

 Franklin County Sheriff’s Office, 695 F.3d 505 (6th Cir. 2012). (Pls.’ Mot. Alter, Amend, or

 Vacate the Court’s Previous J. 6-10).2 Their argument consists of conclusory statements and does




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  Plaintiffs cite the CALMS policy and but do not address that the record indicates the Officers
 were cleared of any wrongdoing after an investigation by the police department. (Jones Dep.
 43:11-45:1, July 27, 2023, DN 52).

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 not cite to any evidence in the record to show a clear error in law. (Pls.’ Mot. Alter, Amend, or

 Vacate 6-9).

        In Hagans, a man under the influence of crack cocaine caused a disturbance at his house,

 prompting a police response. Hagans, 695 F.3d at 507. The police repeatedly ordered the man to

 stop and had to shock him with a taser several times in order to get handcuffs and shackles on him

 before he ultimately died. Id. Hagans highlights that a suspect’s active resistance distinguishes

 reasonable tasing from unreasonable tasing. See id. at 510-11. The Hagans suspect was acting

 “out of control” and resisted arrest, supporting the conclusion that the use of force by the police

 did not violate established law. Id. at 510-11. Despite Plaintiffs’ protestations to the contrary,

 Hagans supports the grant of qualified immunity.

        Plaintiffs cite Martin v. City of Broadview Heights, 712 F.3d 951 (6th Cir. 2013), where

 the officers used body strikes and physical compression to subdue a mentally unstable individual

 who jogged away from officers while naked, unarmed, and under the influence of drugs, but the

 suspect “put his hands behind his back to allow [the officer] to handcuff him.” Id. at 954-55, 958.

 The officers in that case still subdued the suspect even after he showed signs of physical distress.

 Id. at 959. Plaintiffs have failed to show that the Court made a clear error of law when holding

 Martin was a materially different case than the events that took place in the present matter.3




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   Plaintiffs also contend that the Court erred in failing to consider whether to grant Defendants’
 Motion to Exclude the testimony of Dr. John Hunsaker (“Dr. Hunsaker”). (Pls.’ Mot. Alter,
 Amend, or Vacate 10-11). In light of the Court’s ruling on the motion for summary judgment in
 favor of Defendants, the motion to exclude was denied as moot and remains so. (Mem. Op. &
 Order 22).

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                                V.     CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED Plaintiffs’ Motion to Alter,

 Amend, or Vacate (DN 90) is DENIED.




                                                         June 27, 2025


 cc:   counsel of record




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